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                    UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION

MATCH GROUP, LLC,                  §
                                   §
          Plaintiff,               §
                                   §
          v.                       §       Case No. 6:21-CV-00147
                                   §
MUZMATCH LIMITED,                  §
                                   §
          Defendant.               §
                                   §

        DEFENDANT MUZMATCH LIMITED’S MOTION TO DISMISS
                MATCH GROUP, LLC’S COMPLAINT
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                                        I.       INTRODUCTION

        This is not the first time that this Court will have heard this story.1 After Plaintiff Match

Group, LLC (“Match”) failed to acquire Defendant Muzmatch Limited (“Muzmatch”) at a price

much lower than fair market value, Match has now sued Muzmatch on the basis of several claims

without merit. Match filed this lawsuit against Muzmatch, as it has against other matchmaking

mobile apps, asserting these categories of claims: (1) patent infringement; (2) trademark and trade

dress; (3) unfair competition; and (4) cyber piracy. Despite Match’s accusations, Muzmatch has

no desire to be associated with Match or Tinder and instead promotes itself as different from other

dating apps, connecting members with a perfect, lifelong partner while considering their Islamic

religious beliefs. Although each of Match’s claims are lacking, which Muzmatch will show on the

merits in this case, the Court should dismiss the patent-infringement claims on their face, according

to Rule 12(b)(6).

        Muzmatch respectfully requests that the Court narrow the claims in this suit to get to the

heart of the trademark dispute—and thus dismiss the patent-infringement claims pursuant to

35 U.S.C. § 101.2 The claims of U.S. Patent Nos. 10,203,854 (the “’854 Patent”), 9,733,811 (the

“’811 Patent”), and 9,959,023 (the “’023 Patent”) (collectively, the “Patents-in-Suit”) are patent

ineligible because they are directed to the abstract concepts of matchmaking and picking cards out

of a stack. The asserted claims of the ’854 and ’811 Patents are trying to monopolize the economic

practice of matching people according to mutual attraction (or not connecting because of lack of

attraction), and the patents carry this long-standing business practice simply through the Internet

using computer devices. The ’023 Patent claims perform the abstract concept of looking through


1
  See generally Match Grp., LLC v. Bumble Trading Inc., Case No. 6:18-CV-80 (W.D. Tex.); Match Grp., LLC v.
TanTan Ltd., Case No. 6:18-CV-81 (W.D. Tex.).
2
  Although Muzmatch files a partial motion to dismiss, counsel for Match has agreed that Muzmatch need not answer
in this suit until the Court resolves this motion.

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a stack of profile cards one at a time and expressing interest in a card by making a gesture to the

right using a generic processing device. The Patents-in-Suit do not solve any unique technological

problem to overcome their abstract idea, so under the Supreme Court’s precedent established in

Alice Corp. v. CLS Bank International, the Patents-in-Suit are invalid for lack of patentable subject

matter. 573 U.S. 208 (2014).

                                    II.      FACTUAL BACKGROUND

         Match filed its Complaint on February 12, 2021, alleging Muzmatch’s infringement of the

Patents-in-Suit. Dkt. 1.

         The ’854 Patent. The ’854 Patent, a continuation of the ’811 Patent, includes four

independent claims. Dkt. 1 Ex. C. Match alleges Muzmatch’s practice of all the limitations of

claim 1 (and its dependent claims), which is representative of independent claims 4, 7, and 10. Id.

¶ 128, 130-31. Claim 1 is directed at a “non-transitory computer-readable medium,” claim 4 is

directed at a “system,” claim 7 is a method claim, and claim 10 is directed at a “system.” See Ex.

1, ’854 Patent. Each claim is very similar in scope. In fact, the infringement allegations associated

with each claim are identical. See Dkt. 1 ¶ 131. Although not drafted identically, the limitations

of claims 4, 7, and 10 mirror the steps in claim 1 and provide little new substance. Thus, as Match

admits, claim 1 is representative of claims 4, 7, and 10. Dkt. 1 ¶ 131.3

         The ’811 Patent. The ’811 Patent includes three independent claims. Dkt. 1 Ex. A. Match

also alleges that Muzmatch practices all the limitations of claim 1 (and its dependent claims),

which is representative of independent claims 4 and 7. Id. ¶ 66. Claim 1 is a method claim, claim

4 is directed to “a non-transitory computer readable medium,” and claim 7 is directed to a system.



3
 Dependent claims 2, 5, 8, and 11 are substantially the same. Dependent claims 3, 6, 9, and 12 are substantially the
same. For these reasons, claim 2 is representative of claims 5, 8, and 11, and claim 3 is representative of claims 6, 9,
and 12. See generally Ex. 1.

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See id. Match admits that each claim is similar in scope, and the infringement allegations

associated with each claim are identical. Id.4

         The ’023 Patent. The ’023 Patent, a continuation of the ’811 Patent, includes three

independent claims. Dkt. 1 Ex. B. Match also alleges Muzmatch’s practice of all the limitations

of claim 3 (and its dependent claim), which is representative of independent claims 1 and 5. Id.

¶ 105. Claim 3 is a system claim, claim 1 is a method claim, and claim 5 is directed to a

“non-transitory computer readable medium.” See id. Ex. B. Each claim is similar in scope, and

the infringement allegations associated with each claim are identical. Id.5

                                         III.     LEGAL STANDARD

         Patent eligibility under 35 U.S.C. § 101 is a question of law. Berkheimer v. HP Inc.,

881 F.3d 1360, 1365 (Fed. Cir. 2018). It is a “threshold” issue that the Court should consider

before other conditions of patentability. See Bilski v. Kappos, 561 U.S. 593, 602 (Fed. Cir. 2010).

Accordingly, the Federal Circuit has “repeatedly affirmed § 101 rejections at the motion to dismiss

stage, before claim construction or significant discovery has commenced.” Cleveland Clinic

Found. v. True Health Diags., 859 F.3d 1352, 1360 (Fed. Cir. 2017). Early resolution serves to

“spare both litigants and courts years of needless litigation.” I/P Engine, Inc. v. AOL, Inc., 576 F.

App’x 982, 996 (Fed. Cir. 2014).

         Section 101 of the Patent Act defines eligibility and provides that “[w]hoever invents or

discovers any new and useful process, machine, manufacture, or composition of matter, or any

new and useful improvement thereof, may obtain a patent.” 35 U.S.C. § 101. In construing the

scope of this section, the Supreme Court has recognized certain exceptions: “[l]aw of nature,


4
  Dependent claims 2, 5, and 8 are substantially the same. Dependent claims 3, 6, and 9 are substantially the same.
Thus, claim 2 is representative of claims 5 and 8, and claim 3 is representative of claims 6 and 9. See generally Ex. 2.
5
  Dependent claims 2, 4, and 6 are substantially the same. Thus, claim 2 is representative of claims 4 and 6. See
generally Ex. 3.

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natural phenomena, and abstract ideas are not patentable.” Alice, 573 U.S. at 216 (quoting Ass’n

for Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576 (2013)) (emphasis added). The

abstract-ideas exception includes mental process and traditional ways of analyzing information,

fundamental economic practices long prevalent in our system of commerce, long-standing

commercial practices, and methods of organizing human activity. Id. at 219; CyberSource Corp.

v. Retail Decisions, Inc., 654 F.3d 1366, 1371 (Fed. Cir. 2011).

       Following Alice, courts apply a two-step framework to decide whether claims are patent-

eligible. The first step is to “determine whether the claims at issue are directed to . . . patent-

ineligible concepts,” such as abstract ideas. Alice, 573 U.S. at 218. “The § 101 inquiry must focus

on the language of the Asserted Claims themselves.” Synopsys, Inc. v. Mentor Graphics Corp.,

839 F.3d 1138, 1149 (Fed. Cir. 2016) (internal citations omitted). For computer-based claims, this

first step asks whether the claims focus on a “specific means or method that improves the relevant

technology,” which may pass muster under § 101, or on a “result or effect that itself is the abstract

idea and merely invoke generic processes and machinery,” which cannot. Apple Inc. v. Ameranth,

Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016) (internal citations omitted). If the claims are directed

to an abstract idea, then the inquiry proceeds to a second step. In step two, the court must consider

the elements of the claim both individually and as an ordered combination to determine whether

the claims contain an “inventive concept” sufficient to “transform the nature of the claim into a

patent-eligible application.” Alice, 573 U.S. at 218. To survive the second step, a claim must

include “additional features” ensuring that the claim does “more than simply stat[e] the abstract

idea while adding the words ‘apply it.’ ”       Id. at 221 (citing Mayo Collaborative Servs. v.

Prometheus Labs., Inc., 566 U.S. 66, 72 (2012)). A claim that only adds “well-understood, routine,

conventional activity” does not constitute an “inventive concept.” Mayo, 566 U.S. at 73.



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                                       IV.     ARGUMENT

       Taking the allegations in Match’s Complaint as true, the Court should dismiss Match’s

patent-infringement claims (counts 1–3) because the asserted claims of the Patents-in-Suit are

directed to an abstract idea. Each of the claims in the Patents-in-Suit are directed and relate to the

business practice of matchmaking or reviewing a stack of profile cards, and nothing in the asserted

claims of the Patents-in-Suit shows an inventive concept. Thus, the Court should dismiss the

claims under Rule 12(b)(6). See Alice, 573 U.S. at 219; Affinity Labs of Tex., LLC v. Amazon.com

Inc., 2015 WL 3757497, at *5 (W.D. Tex. June 12, 2015).

A.     The Court Should Dismiss the ’854 Patent Because It Is Patent-Ineligible

       1. The ’854 Patent Fails to Survive Step One of Alice

       First, the asserted claims of the ’854 Patent relate to connecting people with potential

matches based on their mutual attraction to each other, or not connecting them because of the lack

of mutual attraction—an abstract idea. Several courts have held that well-known methods and

business practices involving the mere organization of human activity, such as connecting or not

connecting two people, are not patentable. See Alice, 573 U.S. at 219 (mitigating settlement risk);

Bilski v. Kappos, 561 U.S. 593, 611-12 (2010) (hedging); W. View Res., LLC v. Audi AG, 685 F.

App’x 923 (Fed. Cir. 2017) (receiving or collecting data queries, analyzing the data query,

retrieving and processing the information constituting a response to the initial data query, and

generating a visual response to the initial data query); Morales v. Square, Inc., 75 F. Supp. 3d 716,

724-26 (W.D. Tex. 2014) (“a claim is directed to an abstract idea when it describes a fundamental

concept or longstanding practice”); KomBea Corp. v. Noguar LC, 2014 WL 7359049, at *1, *7 (D.

Utah Dec. 23, 2014) (automating telemarking calls personalized to a potential customer).

       Courts consistently find that matchmaking is the type of organizational practice that

typically fails a challenge under § 101. Jedi Techs., Inc. v. Spark Networks, Inc., 2017 WL

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3315279, at *20-21 (D. Del. Aug. 3, 2013) (“[t]he concept of matchmaking is certainly not novel

and has been performed by humans for a very long time”); Walker Digital, LLC v. Google, Inc.,

66 F. Supp. 3d 501, 508-09 (D. Del. 2014) (“none of these [claim] limitations adds anything

meaningful to the basic concept of controlled exchange of information about people as historically

practiced by matchmakers”); Lumen View Tech. LLC v. Findthebest.com, 984 F. Supp. 2d 189, 198,

200 (S.D.N.Y. 2013) (invalidating patent directed to abstract idea of “bilateral and multilateral

matchmaking”). Indeed, humans have performed the abstract idea of matchmaking claimed in the

’854 Patent long before the invention of computers, which conveys that the claims are directed to

an abstract idea. See Intell. Ventures I, LLC v. Symantec Corp., 838 F.3d 1307, 1318 (Fed. Cir.

2016).

         In Mortgage Grader, Inc. v. First Choice Loan Services Inc., the Federal Circuit explained

that “meritorious” § 101 defenses after Alice are “most likely to occur with respect to patent claims

that involve implementations of economic arrangements using generic computer technology.”

811 F.3d 1314, 1322 (Fed. Cir. 2016). Like Mortgage Grader, the ’854 Patent’s claims are directed

to an “economic arrangement” implemented using “generic computer technology” for

matchmaking. For example, a human matchmaker could perform each of the steps in the claimed

elements of independent claim 1, showing that the claims are directed to the fundamental economic

practice of matchmaking:

 Claim 1                                           Matchmaker
 A non-transitory computer-readable medium         A matchmaker.
 comprising instructions that, when executed
 by a processor, are configured to:
 electronically receive a plurality of user        The matchmaker receives profiles, including
 online-dating profiles, each profile              pictures, backgrounds, and résumés, of
 comprising traits of a respective user;           different clients from various social-media
                                                   sites and networks.
 electronically receive a first request for        The matchmaker receives a request from
 matching, the first request electronically        Client A for matching.

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submitted by a first user using a first
electronic device;
determine from the plurality of user online-          The matchmaker reviews other clients and
dating profiles a set of potential matches for        determines a set of potential matches for
the first user;                                       Client A.
cause the display of a graphical representation       The matchmaker presents Client A with a
of a first potential match of the set of potential    physical stack of potential matches. The
matches to the first user on a graphical user         matchmaker presents a first potential match
interface of the first electronic device, the first   to Client A with background and information
potential match corresponding to a second             of the first potential match.
user;
receive from the first electronic device of the       The matchmaker determines that Client A is
first user a first positive preference indication     interested in the first potential match by
associated with the graphical representation of       having Client A put that match in a separate
the second user on the graphical user                 pile. When Client A puts that match in a
interface, the first positive preference              separate pile, this reflects that Client A is
indication associated with a first gesture            interested in the first potential match.
performed on the graphical user interface,
wherein the first gesture comprises a first
swiping gesture;
cause the graphical user interface to display a       When Client A removes that potential match
graphical representation of a second potential        from the stack, a second potential match will
match of the set of potential matches instead         be shown next in the stack, which was
of the graphical representation of the first          underneath the first potential match.
potential match;
receive from a second electronic device of the        The matchmaker receives notice from the
second user a positive preference indication          first potential match that the first potential
regarding the first user;                             match is interested in Client A.
determine to allow the first user to                  The matchmaker provides Client A and the
communicate with the second user in                   first potential match with each other’s
response to receiving from the first electronic       contact information because the interest is
device of the first user the first positive           confirmed for both Client A and the first
preference indication regarding the second            potential match.
user and receiving from the second electronic
device of the second user the positive
preference indication regarding the first user;
receive from the first electronic device of the       The matchmaker directs Client A to put in a
first user a first negative preference indication     separate pile (different from the first pile) a
associated with a graphical representation of a       third potential match in which Client A is not
third potential match on the graphical user           interested.
interface, the first negative preference
indication associated with a second gesture
performed on the graphical user interface, the
third potential match corresponding to a third
user, wherein the second gesture comprises a


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 second swiping gesture different than the first
 swiping gesture;
 without allowing communication between the          The matchmaker will not allow Client A to
 first user and the third user, receive from the     communicate with the third potential match.
 first electronic device of the first user a         But Client A can put a fourth potential match
 second positive preference indication               in the same pile as the first potential match,
 associated with a graphical representation of a     showing Client A’s interest in the fourth
 fourth potential match on the graphical user        potential match.
 interface, the second positive preference
 indication associated with the first gesture
 performed on the graphical user interface, the
 fourth potential match corresponding to a
 fourth user;
 receive from a third electronic device of the       The matchmaker receives notice from the
 fourth user a second negative preference            fourth potential match that the fourth
 indication associated with a graphical              potential match is not interested in Client A.
 representation of the first user; and
 without allowing communication between the          The matchmaker will not allow Client A to
 first user and the fourth user, receive from the    communicate with the fourth potential
 first electronic device of the first user a third   match. However, Client A can still put the
 positive preference indication associated with      fourth potential match in the same pile as the
 a graphical representation of a fifth potential     first potential match, showing Client A’s
 match on the graphical user interface, the          interest in the fourth potential match.
 third positive preference indication associated
 with the first gesture performed on the
 graphical user interface, the fifth potential
 match corresponding to a fifth user.

       Moreover, the specification of the ’854 Patent expressly characterizes the patent’s

purported invention as a computerization of steps performed by a human matchmaker, such as the

presentation of paper cards to clients. For example, the patent describes embodiments that use a

graphical representation of each match in the form of a “ ‘card’ representing the suggested user.”

Ex. 1, ’854 Patent, at 21:30-31. “[U]sers may navigate through the set of presented users by

swiping through stack of cards.” Id. at 22:11-12. This underscores the nontechnical and abstract

nature of the claims.

       The dependent claims are similarly abstract. See id. claims 2, 3, 5, 6, 8, 9, 11, 12; see also

Fairwarning, 839 F.3d at 1096. Dependent claims 2, 5, 8, and 11 are directed to the abstract idea


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of obtaining information about each user from a social-networking site, which is much like a

résumé or information sheet, and something that a human matchmaker can also obtain. Dependent

claims 3, 6, 9, and 12 are directed to the abstract idea of notifying a person of a match based on

mutual attraction, which is something that human matchmakers have done for years. See id. claims

3, 6, 9, 12.

        The asserted claims of the ’854 Patent are also directed to an abstract idea because they do

not convey a specific technological improvement of computer functionality. Indeed, the claims

are not directed to technology at all. Instead, they refer to a nontechnical method of matchmaking

implemented on a generic computer.         See, e.g., id. claim 1 (a computer-readable medium

comprising instruction to “electronically receive a plurality of user online-dating profiles”), 4 (“A

system for profile matching”), 7 (“A computer implemented method of profile matching”), 10 (“A

System for profile matching”). The claims focus on the abstract idea of matching individuals and

allowing communication based on mutual attraction or interest, and not improving the

functionality of a computer.      Limiting the ’854 Patent’s alleged invention to a particular

technological environment does “not make [its] abstract concept any less abstract under step one.”

Intell. Ventures I, LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1340 (Fed. Cir. 2017).

        Thus, for these reasons, the Court should find that the claims of the ’811 Patent are directed

to the abstract idea of matchmaking and fail step one of the Alice test.

        2. The ’854 Patent Lacks an Inventive Concept

        Second, the asserted claims of the ’854 Patent lack inventive concept. The second step in

the Alice analysis requires the Court to determine whether the claims contain “an inventive concept

sufficient to transform the claimed abstract idea into a patent eligible application.” Alice, 573 U.S.

at 221 (internal citations and quotations omitted). “To save a patent at step two, an inventive

concept must be evident in the claims.” RecogniCorp v. Nintendo Co., 855 F.3d 1322, 1326-27
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(Fed. Cir. 2017); Accenture Glob. Servs., GmbH v. Guidewire Software, Inc., 728 F.3d 1336, 1345

(Fed. Cir. 2013). Nothing in the asserted claims saves the claims from the second step of Alice.

       Here, the asserted claims do not recite any inventive concept but rather recite the

performance of the abstract idea using previously invented generic computer, smartphone, and

internet features such as “a computer,” “online-dating profiles,” “a social networking platform,”

an “electronic device,” “a graphical user interface,” “swiping,” “a non-transitory computer

readable medium,” “a processor,” and “an interface.” Ex. 1, ’854 Patent, claims 1, 4, 7, 10. These

are nothing more than generic descriptions of computer components and functions that do not rise

to the level of an inventive concept, either individually or as an ordered combination. See Content

Extraction v. Wells Fargo Bank, 776 F.3d 1343, 1347-48 (Fed. Cir. 2014) (quoting Alice, 573 U.S.

at 221 (a computer in a computer-implemented invention “must involve more than performance

of ‘well-understood, routine [and] conventional activities previously known to the industry’ ” to

be meaningful)). Courts have repeatedly rejected claims as non-inventive that recite generic

components. See, e.g., Alice, 573 U.S. at 221-26 (rejecting argument that recitation of a “data

processing system,” “communications controller,” or “data storage unit” conferred patentability);

Fairwarning,    839    F.3d   at   1096    (“non-transitory   computer-readable     medium”      and

“microprocessor”). Similarly, none of the generic computer components that the ’854 Patent’s

claims recite transforms the abstract idea into “something more.” See Alice, 573 U.S. at 216.

       The specification of the ’854 Patent confirms that such features are generic and fail to

provide an inventive concept. For example, the specification describes the “social networking

platform” generically as “a service which stores profiles of its users.” Ex. 1, ’854 Patent, at

16:23-25. Similarly, the “interface” (or graphical user interface) is shown in the specification as a

generic box. Id. fig. 1B box 16. According to the specification, the graphical user interface “may



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be provided in conjunction with” several electronic devices, such as “a cellular telephone, an

electronic notebook, a laptop, a personal digital assistant (PDA) or any other suitable device

(wireless or otherwise).” Id. at 4:8-11. The interface itself “may [] comprise any suitable interface

for a human user such as a video camera, a microphone, a keyboard, a mouse, or any other

appropriate equipment according to particular configurations and arrangements” (id. at 4:15-18)

or also may comprise “a touch screen interface operable to detect and receive touch input such as

a tap or a swiping gesture” (id. at 19:52-54).

       Moreover, this Court has construed some of the claim terms at issue in a prior case. In that

case, this Court held that several of these terms should be given their plain and ordinary meaning,

proving the non-inventive generic components within these claims. Match Group, LLC v. Bumble

Trading, Inc., Case No. 6:18-cv-80 (W.D. Tex. Aug. 15, 2019) (Dkt. 107) (construing “graphical

representation,” “social networking platform,” and “text area” as having the plain and ordinary

meaning that a person of ordinary skill in the art would ascribe to it). Although Muzmatch does

not believe that claim construction is necessary to resolve this Motion, if it were—and if the Court

gave the same constructions—such language underscores the lack of technological invention

within the patent’s claims, and the Court should reject any arguments by Match that it somehow

improves a user interface, as the Court already ascribed to these terms their ordinary meaning. Id.

       The Complaint emphasizes the use of “swiping” in the context of online dating, a concept

that is not inventive. Match concedes that “the general dragging gesture of swiping may have been

known in the prior art.” Dkt. 1 ¶ 155. In truth, “swiping” is merely one of many known ways to

interact with a computer akin to pressing a button, which the patent admits. See Ex. 1, ’854 Patent,

at 19:48-54, 22:8-19, 22:53-55. Thus, the specification contains no detailed technical description

of “swiping” or how to implement it. Further, the Federal Circuit explained that “[a]n inventor is



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entitled to claim in a patent what he has invented, but no more.” MySpace, Inc. v. Graphon Corp.,

672 F.3d 1250, 1256 (Fed. Cir. 2012). If something is not detailed in the specification, it cannot

be something that the patentee invented and cannot serve as an inventive concept. See id.; Alice,

573 U.S. at 220-21; see also Symantec Corp. v. Zscaler, Inc., 2018 WL 3537201, at *3 (N.D. Cal.

Jul. 23, 2018) (collecting cases finding patents ineligible where the specification is silent on the

alleged inventive concept). Because the specification of the ’854 Patent discloses no algorithm,

design, or means of implementing “swiping,” it must necessarily involve only conventional and

routine steps of the type that cannot confer patent eligibility.

       In sum, the elements of the claims of the ’854 Patent include no inventive concept that

would render any of the claims patent-eligible.

B.     The Court Should Dismiss the ’811 Patent Because It Is Patent-Ineligible

       1. The ’811 Patent Fails to Survive Step One of Alice

       First, like the ’854 Patent, the ’811 Patent relates to matchmaking, which is similarly not

patentable. See supra § IV(A)(1). Like the ’854 Patent, a human matchmaker could perform each

of the steps in the claimed elements of independent claim 1 in the ’811 Patent, showing that the

claims are directed to a fundamental economic practice:

 Claim 1                                                Matchmaker
 A computer implemented method of profile               A matchmaker.
 matching, comprising:
 electronically receiving a plurality of user           The matchmaker receives several pictures,
 online-dating profiles, each profile                   backgrounds, and résumés of different clients
 comprising traits of a respective user and             from various social-media sites and networks.
 associated with a social networking platform;
 electronically receiving a first request for           The matchmaker receives a request from
 matching, the first request electronically             Client A for matching.
 submitted by a first user using a first
 electronic device;
 determining a set of potential matches from            The matchmaker reviews other clients and
 the plurality of user online-dating profiles for       determines a set of potential matches for
 the first user in response to receiving the first      Client A.
 request;
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causing the display of a graphical                  The matchmaker presents Client A with a
representation of a first potential match of the    physical stack of potential matches. The
set of potential matches to the first user on a     matchmaker presents a first potential match to
graphical user interface of the first electronic    Client A with background and information of
device, the first potential match                   the first potential match.
corresponding to a user;
determining that the first user expressed a         The matchmaker determines that Client A is
positive preference indication regarding the        interested in the first potential match by
first potential match at least by determining       having Client A put that match in a separate
that the first user performed a first swiping       pile. When Client A puts that match in a
gesture associated with the graphical               separate pile, this reveals that Client A is
representation of the first potential match on      interested in the first potential match.
the graphical user interface;
in response to determining that the first user      When Client A removes that potential match
expressed the positive preference indication        from the stack, a second potential match will
regarding the first potential match,                be shown next in the stack, which was
automatically causing the graphical user            underneath the first potential match.
interface to display a graphical representation
of a second potential match of the set of
potential matches instead of the graphical
representation of the first potential match;
determining that the second user has                Once Client A shows that Client A is
expressed a positive preference indication          interested in the first potential match, the
regarding the first user after determining that     matchmaker contacts the first potential match
the first user expressed the positive preference    and shares information on Client A with the
indication regarding the first potential match;     first potential match. The first potential
                                                    match expresses to the matchmaker an
                                                    interest in Client A.
determining to enable initial communication         The matchmaker provides Client A and the
between the first user and the second user in       first potential match with each other’s contact
response to determining that both the first         information because the interest is confirmed
user has expressed the positive preference          for both Client A and the first potential match.
indication regarding the second user and the
second user has expressed the positive
preference indication regarding the first user;
in response to determining to enable initial        Because the matchmaker has provided contact
communication between the first user and the        information to both Client A and the first
second user, causing the graphical user             potential match, the matchmaker provides
interface to display the first user the graphical   Client A with a card showing the first
representation of the first potential match;        potential match to take home to keep track of
                                                    those with confirmed interest.
determining that the first user expressed a         The matchmaker directs Client A to put in a
negative preference indication regarding a          separate pile (different from the first pile) a
third potential match of the set of potential       third potential match in which Client A is not
matches at least by determining that the first      interested.
user performed a second swiping gesture

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 associated with a graphical representation of
 the third potential match on the graphical user
 interface, the second swiping gesture different
 than the first swiping gesture, the third
 potential match corresponding to a third user;
 preventing communication between the first        The matchmaker does not provide Client A
 user and the third user after determining that    and the third potential match with each
 the first user has expressed the negative         other’s contact information, because Client A
 preference indication regarding the third user;   was not interested in the third potential match.
 determining that the first user expressed a       The matchmaker determines that Client A is
 positive preference indication regarding a        interested in the fourth potential match
 fourth potential match of the set of potential    because Client A moves the picture of the
 matches at least by determining that the first    fourth potential match into the pile for
 user performed the first swiping gesture          interested matches (the first separate file).
 associated with a graphical representation of
 the fourth potential match on the graphical
 user interface, the fourth potential match
 corresponding to a fourth user; and
 preventing communication between the first        The matchmaker does not provide Client A
 user and the fourth user after determining the    and the fourth potential match with each
 fourth user has expressed a negative              other’s contact information, because the
 preference indication regarding the first user.   fourth potential match was not interested in
                                                   Client A.

       The specification of the ’811 Patent also expressly characterizes the patent’s purported

invention as a computerization of steps performed by a human matchmaker, such as the

presentation of paper cards to clients. For example, the patent describes embodiments that use a

graphical representation of each match in the form of a “ ‘card’ representing the suggested user.”

Ex. 2, ’811 Patent, at 21:12-15. “A set of suggested users may be displayed as ‘stack of cards.’ ”

Id. at 21:15-16. This underscores the nontechnical and abstract nature of the claims.

       The dependent claims are similarly abstract. See id. claims 2, 3, 5, 6, 8, 9; see also

Fairwarning, 839 F.3d at 1096. Dependent claims 2, 5, and 8 are directed to the abstract idea of

notifying a person of a match based on mutual attraction, which is something that human

matchmakers have done for years. Dependent claims 3, 6, and 9 are directed to the abstract idea

of providing potential matches within a set geographic distance from the user. See Ex. 2,


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’811 Patent, claims 3, 6, 9. These claims are abstract because a matchmaker could perform these

steps by providing a client with matches located within a ten-mile radius of the client’s home based

on the client’s recorded preferences.

        Additionally, the asserted claims of the ’811 Patent are directed to an abstract idea because

they do not convey a specific technological improvement to computer functionality. Indeed, the

claims are not directed to technology at all. Instead, they refer to a nontechnical method of

matchmaking implemented on a generic computer. See, e.g., id. claim 1 (“a computer implemented

method of profile matching”), 4 (“A non-transitory computer readable medium”), 7 (“a system for

profile matching”). The claims focus on the abstract idea of matching individuals and allowing

communication based on preference indications and not on improving the functionality of a

computer. Limiting the ’811 Patent’s alleged invention to a particular technological environment

does “not make [its] abstract concept any less abstract under step one.” Capital One, 850 F.3d at

1340.

        Thus, for these reasons, the Court should find that the claims of the ’811 Patent are directed

to the abstract idea of matchmaking and fail step one of the Alice test.

        2. The ’811 Patent Lacks an Inventive Concept

        Second, the asserted claims of the ’811 Patent lack inventive concept. Like the ’854 Patent,

the claims merely recite the performance of the abstract idea of using generic computer,

smartphone, and internet features such as “a computer,” “online-dating profiles,” “a social

networking platform,” an “electronic device,” “a graphical user interface,” “swiping,” “a

non-transitory computer readable medium,” “a processor,” and “an interface.” Ex. 2, ’811 Patent,

claims 1, 4, 7. As discussed above, these are nothing more than generic descriptions of computer

components and functions that do not rise to the level of an inventive concept, either individually

or as an ordered combination. See infra § IV(A)(2). Furthermore, the ’811 Patent uses the same
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generic terms, such as “social networking platform” and “graphical representation,” which were

construed in this Court’s previous order (and the Court may decide to follow those constructions

in this case), that prove the lack of technological innovation. See id.

       As discussed above on the ’854 Patent, “swiping,” in the ’811 Patent, does not provide an

inventive concept either. See supra § IV(A)(2). As Match concedes and is evident from the face

of the ’811 Patent, swiping was a known method of interacting with a touchscreen. Dkt. 1 ¶ 97;

Ex. 2, ’811 Patent, at 19:35-38, 21:59-22:7, 22:37-39. Neither the claims nor the specification of

the ’811 Patent contains a technical description of “swiping” or how to implement “swiping”;

therefore, it cannot serve as an inventive concept. See Move, 2018 WL 656377, at *5 (“zoom”

feature found to be nothing more than an instruction to apply an abstract idea using a computer

where neither the claims nor the specification provides any implementation details); MySpace,

672 F.3d at 1256; Symantec, 2018 WL 3537201, at *3; see also Alice, 573 U.S. at 221-24.

       Further, removing the image of one potential match and replacing it with an image of a

second potential match “automatically” fails to render the claim of the ’811 Patent nonabstract.

Dkt. 1 ¶ 62. Computer automation cannot render an abstract claim patent-eligible. Credit

Acceptance Corp. v. Westlake Servs., 859 F.3d 1044, 1055 (Fed. Cir. 2017); OIP Techs. v.

Amazon.com Inc., 788 F.3d 1359, 1363 (Fed. Cir. 2015). The specifications do not use the term

“automatically” or explain the “automatic” functionality. See Ex. 2, ’811 Patent.

       For the same reasons discussed above in the ’854 Patent, the elements of the claims of the

’811 Patent include no inventive concept that would render any of the claims patent-eligible.

C.     The Court Should Dismiss the ’023 Patent Because It Is Patent-Ineligible

       1. The ’023 Patent Fails to Survive Step One of Alice

       The claims of the ’023 Patent are also directed to an abstract idea. Like the previous two

patents discussed above, the ’023 Patent relates to matchmaking, and it is specifically directed to

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the abstract idea of looking through a stack of profile cards one at a time and showing interest in a

match by moving a card to the right. See Elec. Power Grp. LLC v. Alstom S.A., 830 F.3d 1350,

1353 (Fed. Cir. 2016). The ’023 Patent claims a method of organizing human activity and is much

like other abstract ideas found to be patent-ineligible. See supra § IV(A)(1); see also Voter

Verified, Inc. v. Election Sys. & Software LLC, 887 F.3d 1376, 1384-86 (Fed. Cir. 2018) (voting,

verifying the vote, and submitting the vote for tabulation); Move, Inc. v. Real Est. All. Ltd., 2018

WL 656377, at *3-4 (Fed. Cir. Feb. 1, 2018) (collecting and organizing information about real-

estate properties and displaying this information on a digital map). The claims involve generic

functions of automatically present/removing graphical images, detecting a gesture, and storing a

preference indication. See generally Ex. 3, ’023 Patent, at 24:63-26:60. “[N]ot only can these

steps be ‘carried out in existing computers long in use,’ but they can also” be performed by a

traditional matchmaker working with a client. See Planet Bingo, LLC v. VKGS LLC, 576 F. App’x

1005, 1008 (Fed. Cir. 2014). For example, a human matchmaker could perform the steps of the

claimed elements of claim 3 of the ’023 Patent:

 Claim 3                                              Matchmaker
 A system, comprising:                                A matchmaker.
 an interface operable to:                            The matchmaker presents a stack of profiles
                                                      in the form of cards to a Client A containing
 present a graphical representation of a first        pictures, information, and background of
 item of information of a plurality of items of       other clients. The matchmaker presents the
 information, the first item of information           stack for Client A to review the first card only.
 comprising a graphical representation of a
 first online dating profile associated with a
 first user, wherein the interface is further
 operable to present the graphical
 representation of the first item of information
 of the plurality of items of information as a
 first card of a stack of cards;
 a processor coupled to the interface and             The matchmaker tells Client A to take the
 operable to:                                         card that he is interested in and place it in a
                                                      separate pile on the right, reflecting a gesture.
 detect a gesture associated with the graphical

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 representation of the first item of information,
 the gesture corresponding to a positive
 preference indication associated with the first
 item of information, the positive preference
 indication associated with the first item of
 information comprising an expression of
 approval for the first user associated with the
 first online dating profile, wherein the
 processor is further operable to detect a right
 swiping direction associated with the gesture;
 store the positive preference indication           When Client A places the card in the pile on
 associated with the first item of information in   the right, the matchmaker notes in Client A’s
 response to detecting the gesture; and             files that Client A is interested in that card.
 the interface further operable to:                 When Client A moves the first card to the
                                                    right, Client A can review the second card in
 automatically present a graphical                  the original stack showing a new profile.
 representation of a second item of information
 of the plurality of items of information in
 response to the processor detecting the
 gesture, the second item of information
 comprising a graphical representation of a
 second online dating profile associated with a
 second user; and
 automatically remove the graphical              When Client A removes the card to the pile on
 representation of the first item of information the right, it is no longer in the original stack
 in response to detecting the gesture.           of cards.

       The dependent claims are similarly abstract. Claims 2, 4, and 6 are directed to the abstract

idea of claim 3 along with the abstract concept of preventing a user from viewing successive cards

in a stack before preforming an action on the top card. Permitting someone to view only the top

card in a deck is a commonly understood exercise. Further, humans physically can perform

looking through the cards one at a time and picking cards based on preferences, as described above.

Claims 2, 4, and 6 are limited to a narrow aspect of this abstract idea, which does not alter the

patent-eligibility analysis or outcome. See SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167-

68 (Fed. Cir. 2018).

       Moreover, the claims of the ’023 Patent are directed to performing human activities on a

computer, not a solution to a technological problem. See In re TLI Commc’ns LLC Patent Litig.,

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823 F.3d 607, 612-13 (Fed. Cir. 2016). Underscoring the nontechnical nature of the claims, the

’023 Patent does “not claim a particular way of programming or designing the software” to perform

the recited activities but rather claims, at a high level, the online-dating system itself. See Apple,

842 F.3d at 1241.

         2. The ’023 Patent Lacks an Inventive Concept

         The claims of the ’023 Patent do not provide an inventive concept. Like the two patents

above, the claims recite the performance of the abstract idea using generic computer, smartphone,

and internet features such as an “online-dating profile,” “a graphical user interface,” “swiping,” “a

non-transitory computer readable medium,” “a processor,” and “a user interface.”              Ex. 3,

’023 Patent, claims 1, 3, 5. As discussed with the ’854 Patent, courts have repeatedly held that

such generic components do not provide an inventive concept. Similarly, the “presenting,”

“detecting,” “storing,” and “removing” recited in the claims are generic computer functions. See

Planet Bingo, 576 F. App’x at 1008. A patent’s recitation of a computer amounts to a mere

instruction to implement an abstract idea on a computer; that addition cannot impart patent

eligibility. Alice, 573 U.S. at 223.

         Displaying user profiles as a deck of cards cannot supply an inventive concept, because

this itself is abstract. See BSG Tech LLC v. BuySeasons, Inc., 899 F.3d 1281, 1290-91 (Fed. Cir.

2018). Humans have been using cards for hundreds, if not thousands, of years. Merely displaying

well-known, nontechnical objects on a generic computer is not inventive. Indeed, using a deck of

cards is decorative, supplying no inventive concept for the ’023 Patent. See 35 U.S.C. § 101

(“Whoever invents or discovers any new and useful process, machine, manufacture . . . may obtain

a patent . . . .”).

         As discussed above with the ’854 Patent, “swiping,” in the ’023 Patent, does not provide

an inventive concept either. See supra § IV(A)(2). As Match concedes and is evident from the
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face of the ’023 Patent, swiping was a known method of interacting with a touchscreen. Dkt. 1

¶ 124; Ex. 3, ’023 Patent, at 19:45-48, 22:4-22:19, 22:49-52.         Neither the claims nor the

specification of the ’023 Patent contains a technical description of “swiping” or how to implement

“swiping”; therefore, it cannot serve as an inventive concept. See Move, 2018 WL 656377, at *5

(“zoom” feature found to be nothing more than an instruction to apply an abstract idea using a

computer where neither the claims nor the specification provides any implementation details);

MySpace, 672 F.3d at 1256; Symantec, 2018 WL 3537201, at *3; see also Alice, 573 U.S. at 221-24.

Further, as discussed with the ’811 Patent, the removal of an image of one potential match and

replacement of it with an image of a second potential match “automatically” fails to provide a basis

to render the claim of the ’811 Patent nonabstract. See supra § IV(B)(2).

       For the same reasons discussed above in the ’854 Patent, the elements of the ’023 Patent

do not include an inventive concept and therefore do not survive step two of Alice.

                                     V.      CONCLUSION

       For these reasons, Muzmatch requests that this Court grant its Motion and dismiss Match’s

patent-infringement claims as patent-ineligible under 35 U.S.C. § 101.




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Dated: April 8, 2021                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 8, 2021, a true and correct copy of the foregoing document

was filed via ECF and served on all counsel of record registered to receive service through such

means.



                                                 /s/ Rex A. Mann
                                                 Rex A. Mann




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